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                                                    #:565



              1 Stephen G. Larson (SBN 145225)
                slarson@larsonllp.com
              2 Jonathan Gershon (SBN 306979)
                jgershon@larsonllp.com
              3 LARSON LLP
                555 South Flower Street, 30th Floor
              4 Los Angeles, California 90071
                Tel: (213) 436-4888
              5 Fax:  (213) 623-2000
              6 Attorneys for Defendant
                JASON EDWARD THOMAS CARDIFF
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              8
                                          UNITED STATES DISTRICT COURT
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                                       CENTRAL DISTRICT OF CALIFORNIA
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              11
                   UNITED STATES OF AMERICA,                Case No. 5:23-cr-00021-JGB
              12
                             Plaintiff,                     [PROPOSED] ORDER GRANTING
              13                                            JASON CARDIFF’S EX PARTE
                       vs.                                  APPLICATION FOR PERMISSION
              14                                            TO TRAVEL TO KANSAS CITY
                 JASON EDWARD THOMAS
              15 CARDIFF,                                   [Filed concurrently with Ex Parte
                                                            Application and Declaration of Stephen
              16             Defendant.                     G. Larson]
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LOS ANGELES
                                                    [PROPOSED] ORDER
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1        GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED
2 that Jason Cardiff shall be permitted to travel to Kansas City on December 30, 2023,
3 with a return to Texas on January 1, 2024.
4        IT IS FURTHER ORDERED that Jason Cardiff shall be permitted to travel
5 without third-party custodian, Stephen Cochell, and that Mr. Cardiff’s curfew shall
6 be lifted for the two nights that he will be staying in Kansas City.
7        IT IS FURTHER ORDERED that Jason Cardiff shall provide his flight and
8 hotel information to United States Probation Officer Jack Sherrod prior to his travel.
9
10       IT IS SO ORDERED.
11
     Dated:
12                                           Honorable Jesus G. Bernal
13                                           United States District Judge

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                                      [PROPOSED] ORDER
